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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     DJENEBA SIDIBE, et al.,                             Case No. 12-cv-04854-LB
                                  12                    Plaintiffs,
Northern District of California
 United States District Court




                                                                                             ORDER REGARDING TRIAL
                                  13             v.                                          LOGISTICS
                                  14     SUTTER HEALTH, et al.,
                                  15                    Defendants.

                                  16

                                  17      The court held a case-management conference on January 13, 2022 about trial logistics. This

                                  18   order summarizes the discussion.

                                  19      First, the Northern District has suspended in-person trials until January 27, 2022. The court

                                  20   thus reset the trial date from January 6 to January 27. The court had asked the parties to discuss a

                                  21   fully or partly remote trial. The Western District of Washington has conducted remote trials. The

                                  22   court also consulted with the jury office here, and it seems likely that it could be done. Sutter

                                  23   objected to a remote trial. The court will not order a remote trial over Sutter’s objection. Among

                                  24   other reasons, the exigency surrounding the Omicron variant likely will dissipate by the end of

                                  25   February. The parties’ backup plan is to start the trial in person on February 10 (or earlier if

                                  26   possible). For now, the court thinks that the logistical issues merit starting on February 10.

                                  27      Second, the jury office contacted the existing jurors to see whether they can be time qualified

                                  28   for six weeks starting January 27, 2022. (The court has set trial limits, but given the pandemic,

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                                   1   possible delays, and time for deliberation, this time period was appropriate.) The court shared the

                                   2   results with the parties. One juror has not responded, four are time qualified, and others identified

                                   3   hardships. Many are work hardships: often, hardship to the employer is not something that the court

                                   4   considers. But one juror postponed retirement by a month to accommodate work and the trial and

                                   5   has a post-retirement prepaid vacation that possibly spans jury deliberations. Others have identified

                                   6   real work issues, including a teacher who was able to accommodate the trial in January but not now,

                                   7   in part because of the difficulties obtaining substitute teachers (as discussed during jury selection).

                                   8   One juror has to walk for five minutes every thirty minutes, is 74, and is concerned about taking

                                   9   BART during the pandemic. (The court has reached out to discuss an accommodation about the

                                  10   walking issue.) In sum, it is not possible to seat the ten jurors that the court wanted to seat. If the

                                  11   court keeps some jurors who say they are not available for work conflicts, then it seems possible to

                                  12   seat six to eight jurors. That does not give a lot of room for error: the court lost (temporarily) at least
Northern District of California
 United States District Court




                                  13   four jurors in less than a week before the trial was to start.

                                  14       Third, the court asked the jury office whether it can pull in more jurors if not enough jurors

                                  15   show up on the day of trial. The court was told that it cannot and that either the case starts with this

                                  16   jury or a new jury needs to be picked. Also, the court cannot pick a new jury this quarter because of

                                  17   the court’s pandemic protocols. (The court has explained them previously: essentially there is a

                                  18   queue for trials, criminal trials take priority, and civil cases are slotted in after, depending on

                                  19   available courtroom space.) Thus, if the jury is discharged, then the earliest a trial can take place is

                                  20   Q2 2022. The court agreed to ask again and will update the parties.

                                  21       Fourth, the related lead counsel for the plaintiffs has a conflict, which has been discussed in

                                  22   earlier proceedings. It is immutable and requires him to be absent starting in March for around 120

                                  23   days, which puts a start date of the trial in July 2022 at the earliest. This is why the court is asking

                                  24   again whether it can pick more jurors for a February trial date.

                                  25       IT IS SO ORDERED.

                                  26       Dated: January 14, 2022                        _                     ____________________
                                                                                          LAUREL BEELER
                                  27                                                      United States Magistrate Judge
                                  28

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